                    Case 4:08-cr-00054-DPM Document 385 Filed 11/06/12 Page 1 of 2
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                    UNITED STATES DISTRICT COURT                                                                                                                                 NOV -6 2012
                                                      Eastern District of Arkansas                                                                                  i:'~~~RK
         UNITED STATES OF AMERICA                                                              Judgment in a Criminal else                                                                               ~ERK
                             v.                                                                 (For Revocation of Probation or Supervised Release)


              ERIC JEROME OWENS                                                                 Case No.                            4:08CR00054-02 JLH
                                                                                                USMNo.                               25023-009
                                                                                                                                                       Latrece E. Gray
                                                                                                                                                     Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)        ...:G:::.:e:::.:n!!:e~ra:!!l.l...,: : :;2,:. . :3: . .,. . : 5:. .,..:::S:.~::P.::::ec::::;:i;::;a!....l___ of the term of supervision.

D   was found in violation of condition(s)            - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                                                                               Violation Ended
General                      Unlawful use of a controlled substance                                                                                                            July 8, 2012
2                            Failure to submit monthly report to probation officer                                                                                             July 2012
3                            Failure to follow instructions of probation officer                                                                                               June 18, 2012
5                            Failure to obtain employment as directed                                                                                                          July 12, 2012
Special                      Failure to report for drug testing as directed                                                                                                    June 14, 2012


       The defendant is sentenced as provided in pages 2 through ---=2~- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3300

Defendant's Year ofBirth:         1988

City and State of Defendant's Residence:                                                                                                                Signature of Judge
              North Little Rock, Arkansas
                                                                                                                I. Leon Holmes, United States District Judge
                                                                                                                                                  Name and Title of Judge

                                                                                                                                                    November 6, 2012
                                                                                                                                                                      Date
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AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 2- Imprisonment

                                                                                              Judgment- Page     2     of     2
DEFENDANT:                  ERIC JEROME OWENS
CASE NUMBER:                4:08CR00054-02 JLH


                                                              IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

                          TIME SERVED with no term of supervised release to follow


   D The court makes the following recommendations to the Bureau of Prisons:




   D   The defendant is remanded to the custody of the United States Marshal.

   D   The defendant shall surrender to the United States Marshal for this district:
       D    at    --------- D                  a.m.             D     p.m.    on
       D    as notified by the United States Marshal.

   D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D    before 2 p.m. on
       D    as notified by the United States Marshal.
       D    as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

I have executed this judgment as follows:




       Defendant delivered on                                                      to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                             By
                                                                                        DEPUTY UNITED STATES MARSHAL
